         Case 2:16-cv-06276-TON Document 12 Filed 08/21/17 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILFRED FRANCIS ST. AMOUR, JR.                       :       CIVIL ACTION
                                                     :       NO. 16-6276
                                                     :
                       vs.                           :
                                                     :
                                                     :
TRANS UNION LLC and EQUIFAX                          :
INFORMATION SERVICES LLC                             :

                                             ORDER

       AND NOW, TO WIT: this 21st day of August, 2017, it having been reported that the

issues between the parties in the above action have been settled and upon Order of the Court

pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it

is

       ORDERED that the above captioned action is DISMISSED with prejudice, pursuant to

agreement of counsel without costs.



                                                     KATE BARKMAN, Clerk of Court


                                                     BY: s/ Deborah A. Owens
                                                         Deborah A. Owens, Deputy Clerk


cc:    Geoffrey H. Baskerville, Esquire (Fax #215-940-8000)
